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                                        NUMBER 13-14-00112-CV

      COURT OF APPEALS

      THIRTEENTH DISTRICT OF TEXAS

      CORPUS CHRISTI - EDINBURG
____________________________________________________

Gloria Rodriguez,      Appellant,

      v.

Jose Manuel Rodriguez, Sr.,  Appellee.
                         ____________________________________________________

      On appeal from the 24th District Court
      of Calhoun County, Texas.
____________________________________________________

      ORDER REFERRING CASE TO MEDIATION

      The Court has determined that this case should be referred  to  mediation  prior  to  briefing.
Tex. Civ. Prac. &amp; Rem. Code Ann. §§154.001-.073 (Vernon 2005).  Accordingly, it is ORDERED that  this
case be mediated under the following terms and conditions:

      1.  The parties must promptly agree upon a mediator and,  within  seven  days  of  this  Order,
      notify the Court in writing of the name and address of the mediator selected.  If  the  parties
      are unable to agree upon a mediator, they must so notify the Court within the seven day  period
      and the Court will appoint a mediator.

      2.  All parties must confer with their mediator within seven days of the date of this Order, or
      in the case of a court appointed  mediator,  within  seven  days  of  the  appointment  of  the
      mediator, to establish a date and place for the mediation.  The parties shall agree on  a  date
      for the mediation that is consistent with the mediator’s schedule and  is  no  later  than  six
      weeks after the date of this Order.  In the event the parties  cannot  agree  on  a  date,  the
      mediator shall select and set a date.  The mediator shall notify the Court of the date selected
      for the mediation.

      3.  In the discretion of the mediator, each party may be required  to  provide  a  confidential
      memorandum and/or information sheet setting forth the issues of the case and their positions on
      these issues.  Additionally, upon request of  the  mediator,  the  parties  shall  produce  all
      information the mediator deems necessary to understand the issues of the case.   The memorandum
      and/or information sheet and other information produced to the mediator will not be made a part
      of the file in this case and will be destroyed  by  the  mediator  at  the  conclusion  of  the
      mediation proceeding.

      4.  All parties to this matter  or  their  authorized  representatives,  accompanied  by  their
      counsel, must appear and attend the mediation proceeding.

      5.  Mediation is a mandatory, non-binding settlement conference conducted with  the  assistance
      of a mediator.  The mediation proceeding will be confidential within the meaning of  the  Texas
      Civil Practice and Remedies Code sections 154.053 and 154.073.  See Tex. Civ. Prac. &amp; Rem. Code
      Ann. §§154.053-.073 (West 2011).

      6.  Unless otherwise agreed, the mediation proceeding will not be recorded.

      7.  The mediator will negotiate a reasonable fee with the parties.  The mediator’s fee will  be
      borne equally by the parties unless otherwise agreed by the parties, and will be paid  directly
      to the mediator.  If the parties do not agree upon the fee requested by the mediator, the Court
      will set a reasonable fee, which shall be taxed as costs.  Tex. Civ. Prac.  &amp;  Rem.  Code  Ann.
      §154.054 (West 2011).

      8.  Within two days after the conclusion of the mediation, the mediator shall certify  to  this
      Court as follows:  (a) whether the parties appeared as ordered, (b) whether the  case  settled,
      and (c) whether the mediation fees were paid  in  accordance  with  the  Court’s  order  or  as
      otherwise agreed by the parties.

      9.  If mediation fully resolves the issues in this case, the  parties  must  file  a  joint  or
      agreed motion seeking dispositive relief, within seven days of the conclusion of the mediation.
       If the parties need more time to effectuate the terms of the settlement agreement,  they  must
      within seven days of the conclusion of  mediation,  file  a  joint  or  agreed  motion  for  an
      extension of time to file their disposition motion.


      It is FURTHER ORDERED that this appeal will be stayed until the completion of the mediation.

      WITNESS the Honorable Rogelio Valdez, Chief Justice of the Court  of  Appeals,  13th  Court  of
Appeals District, at Corpus Christi - Edinburg, Texas.

      GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at my office this 14th day of March, 2014.

                                       DORIAN E. RAMIREZ, CLERK
                                       Thirteenth Court of Appeals







